             Case 3:22-cr-00071-SVN Document 14 Filed 05/24/22 Page 1 of 10




                                 LINITED STATES DISTzuCT COURT
                                    DISTRICT OF CONNECTICI]T

    UNITED STATES OF AMERICA                             CriminalNo. äZ a,*       ?l
                    v
                                                         VIOLATION:
    GLENCORE LTD                                         18 U.S.C. $ 371 (Conspiracy)


                                                                               United States District Court
                                            INFORMATiON                          District of Connecticut
                                                                                FILED AT HARTFORD
                                                                                        '5|"L'tr
           The United States of America charges

                                                                                         Deputy Clerk
                                             COIINT ONE
                        (Conspiracy to Commit Cornmodity Price Manipulation)

                                            Relevant Entities

            1.     At all times relevant to this Information,    GLENCORE LTD. ("GLENCORE")

operated a global commodities trading business that included trading           in fuel oil and related
products. GLENCORE, was a branch            of Glencore AG, which was a subsidiary of               Glencore

International     AG and whose ultirnate parent company was Glencore plc. Until                    mid-2017,

GLENCORE was based in Stamford, Connecticut.l Thereafter, it was based in New York, New

York.

            2.     Chemoil Corporation ("Chemoil"), together with its subsidiaries and affiliates, was

an   oil trading company that was      headquartered   in Singapore and had offices in, among other

places, San Francisco, California. Chemoil operated a global commodities trading business that

included the trading in fuel oil and related products. At all times relevant to this Information prior

to April 2014,       Glencore   plc indirectly held a majority ownership stake in Chemoil. More

specifically, in January 2010, Glencore plc indirectly acquired a 50.81o/o stake in Chemoil, with



I   All   dates and numbers in this Information are approximate.

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         Case 3:22-cr-00071-SVN Document 14 Filed 05/24/22 Page 2 of 10




 Glencore plc raising   its stake in Chemoil to    89%o   in February 2012, and then fully acquiring
 indirect ownership of Chemoil in April 2014.

                          S&P GI obal Platts                Price A         ts

        3.       S&P Global Platts ("Platts") was a leading independent provider of information,

benchmark prices, and analytics for energy and other commodities markets. Among
                                                                                other things,

Platts published daily price assessments for various fuel oil markets throughout the
                                                                                     United States

and internationally, including for intermediate fuel   oil 380 CST at the port of Los Angeles (,,L.A.

Bunker Fuel") and RMG 380 fuel oil at the Porl of Houston ("USGC HSFO,'). The port
                                                                                   of Los
Angeles was the busiest shipping port in the United States by container volume. The port
                                                                                         of
Houston was the largest U.S. port on the Gulf Coast and the busiest port in the United
                                                                                       States by

foreign waterborne tonnage.

       4.        Platts daily price assessments were meant to reflect the prevailing market price at a

point in time for the specihc product that was the subject of the assessment (e.g., L.A.
                                                                                         Bunker

Fuel, USGC HSFO), and Platts price assessments were used by market participants
                                                                                to calculate
pricing formnlas in certain contlacts. In formulating the daily price assessments for a given

product, Platts used, among other things, a Market-on-Close ("MOC") process in
                                                                               which platts
reviewed orders     to buy and sell ("bids" and "offers,"       respectively) submitted   by   market

parlicipants to Platts during designated daily 30- to 45-minute periods (the ,,platts
                                                                                      Window,,).

Platts also solicited information regarding current market conditions fi.om market pafticipants,

which informed, among other things, where Platts set the initial starting price for trading in
                                                                                               the

Platts Window (i.e.,fhe "peg") as well as the price assessment published after the close
                                                                                         of the
Platts'Window.




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        Case 3:22-cr-00071-SVN Document 14 Filed 05/24/22 Page 3 of 10




                         The              to

        5.      From January 2011 and continuing through August 20Ig,             in the District of
connecticut and elsewhere, the defendant, GLENCORE knowingly and willftilly did combine,

conspire, confederate, and agree with others, including Emilio Jose Heredia Collado (,,Heredia,,),

to manipulate the price of a commodity in interstate commeïce, namely, fuel oil, in violation
                                                                                              of
Title 7, United States Code, Section I3(a)(2).

                                  The Purpose of the Conspir.acy

       6.      T'he purpose of the conspiracy was      for GLENCORE and its co-conspirators to
unlawfully enrich themselves by increasing profits and reducing costs on contracts for physical

fuel oil contracts, andlot increasing profits and reducing losses on derivative positions relating
                                                                                                   to

fuel oil, held by GLENCORE, where the price terms and/or value of those contracts and/or

positions were set b)' refèrence to the daily benchmark piice assessinents published
                                                                                     by platts,
specifically, the Platts assessments for L.A. Bunker Fuel or usGC HSFO.

                               Manner and Means o f the Consoiracv

       7,      The manner and means by which GLENCORE and its co-conspirators sought to

accomplish and did accomplish the purpose of the conspilacy included the following:

                                         L.A. Bunker Fuel

               a.      On numerous occasions from September 2012 through August 2016, at

       Heredia's direction, employees of Chemoil and later of GLENCORE, including Marketer-

       1, Marketer-2, and Marketer-3, submitted bids and offers to platts during the platts

       Window for L'4. Bunker Fuel with the intent to cause an artif,rcial price, that is with the

       intent to push the L.A. Bunker Fuel price assessment up or down arlificially so that the

       L.A. Bunker Fuel price assessment did not reflect legitimate market-based forces of supply

       and demand, and in order to   unlawfully enrich themselves, Chemoil, and later GLENCORE

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         Case 3:22-cr-00071-SVN Document 14 Filed 05/24/22 Page 4 of 10




        by increasing profits and reducing costs on Chemoil's and GLENCORE's contracts f'or

        physical fuel oil, including contracts with Trading Firm A2 to buy and sell fuel oil, where

        the price terms of those contracts were set by reference to the   L.A. Bunker Fuel benchmarlc

        price assessment.

                      i.        More specifically,   if   GLENCORE (or previously, Chemoil) had       a

               contract to sell fuel oil to Trading Firm A that was pliced by reference to the L.A.

               Bunker Fuel price assessment, it was in GLENCORE's (and previously, Chernoil,s)

               interest for the L.A. Bunker Fuel price assessment to be as high as possible. Heredia

               directed his co-conspiratols, including Marketer- 1, Marketer- 2, andMarketer-3, to

               submit bids to Platts and subsequently raise the price of those bids during the platts

               Window for the express purpose of pushing up the L.A. Bunker Fuel price

               assessment   afiificially and in a manner that did not reflect legitimate market-based

               forces of supply and demand.

                     ii.       Conversely, if GLENCORE (or previously, Chemoil) had a contract

               to buy fuel oil from Tlading Firm A that was priced by reference to the L.A. Bunker

               Fuel price assessment, it was in GLENCORE's (and previously, Chemoil's) interest

               for the L.A. Bunker Fuel price assessment to be as low as possible. Heredia directed

               his co-conspirators, including Marketer-1, Marketer-2, and Marketer-3, to submit

               offers to Platts and subsequently lower the price of those offers during the platts

               Window for the express purpose of pushing down the L.A. Bunker Fuel price

               assessment   artificially and in a manner that did not reflect legitimate market-based

               forces of supply and demand.


2
 At alltimes relevant to this Information, Trading Firm A operated     as the   trading arm of National
Oil Company A, a foreign state-owned petroleum company.

                                                 -4-
 Case 3:22-cr-00071-SVN Document 14 Filed 05/24/22 Page 5 of 10




        b'      GLENCORE and Chemoil, through its salespeople, including Marketer-1,

Marketer-2, and Marketer-3, acting at Heredia's direction, submitted these bids and offers

for L.A. Bunker Fuel to Platts during the Platts Window for the purpose of artificially

affecting the L.A. Bunker Fuel price assessment and hence artificially decreasing or

increasing the price of fuel oil bought from or sold to Trading Firm     A, and not for   any

legitimate economic reason.

        c.      Iu total, Chemoil and GLENCORE unlawfully gained over $85 million

from manipulating the L.A. Bunker Fuel price assessment.

                          "Joint Venture" with Trading Firm A

        d.      From January 2014 through Febluary 2076, Heredia, on behalf of Chemoil

and later GLENCORE, entered into an informal       joint venture with Trading Firm A to help

Trading Firm A blend, ship, and ultimately sell fuel oil (a commodity in interstate and

intelnational commerce) in Singapore (the "Joint Venture"). As parl of the Joint Ventule,

Trading Film A purchased fuel oil fi'om National Oil Company A, with the pricing terms

set by reference to the   L.A. Bunker Fuel price assessment. Trading Firm A then transported

the fuel oil to the Port of Los Angeles, where Chemoil and later GLENCORE assisted with

blending the fuel oil to meet cerlain quality standards and specifications, and the fuel oil

then was shipped to Singapore, where it was sold.

       e.      During the Platts Window on certain days when Trading Firm A was buying

fuel oil from National Oil Company A, salespeople at Chemoil and later GLENCORE,

including Marketer-1 , acting at Heredia's direction, submitted one or more offers to platts

and subsequently lowered the price of those offers during the Platts 'Window for L.A.

Bunker Fuel with the intent to push down the L.A. Bunker Fuel price assessment, and hence




                                           5
 Case 3:22-cr-00071-SVN Document 14 Filed 05/24/22 Page 6 of 10




the price of fuel oil that Trading Firm       A   bought fi'om National   Oil   Company   A   in

connection with the Joint Venture, artificially and in a manner that did not reflect legitimate

market-based forces of supply and demand.

        f.      Because Chemoil and later GLENCORE was pushing down the L.A.

Bunker Fuel price assesstnent, Trading Firm A was able to buy fuel oil from National Oil

Company A at artificially low prices, which increased the profit to the Joint Venture (and

ultimately Chemoil and later GLENCORE) when the fuel oil was sold at market prices in

Singapore, and resulted in unlawful gains to the Joint Venture.

        g.     The Joint Venture engaged in 26 different transactions, which resulted in

ill-gotten gains of over $70 million, which Trading Firm          A   and Chemoil, and later

GLENCORE, evenly dividecl.

                                    USGC HSFO

       h.      On numerous occasions from January 20Il through August                     2019,

employees at GLENCORE and Chemoil submitted bids and offers to Platts during the

Platts Window for USGC HSFO with the intent to cause an arlificial price, that is with the

intent to push the USGC HSFO price assessment up or down artif,rcially so that the USGC

HSFO price assessment did not reflect legitimate market-based forces of supply and

demand and    in order to unlawfully enrich themselves, GLENCORE, and Chemoil by

increasing profits and reducing costs on GLENCORE's and Chemoil's contracts for

physical fuel oil, and/or increasing profits and reducing losses on GLENCORE,s and

Chemoil's derivative positions relating to USGC HSFO, where the price terms andlorvalue

of those contracts andlor positions were set by reference to the USGC HSFO benchmark

price assessment.



                                         -6
 Case 3:22-cr-00071-SVN Document 14 Filed 05/24/22 Page 7 of 10




                 1.       More speciflcally,     if GLENCORE or Chemoil had a contract to sell
           fuel oil that was priced by reference to the USGC HSFO price assessment, or had

           a "long" derivative position related to USGC HSFO,       it was in GLENCORE,s or
           Chemoil's interest for the USGC HSFO price assessment to be as high as possible.

           Traders and salespeople at GLENCORE or Chemoil submitted bids to platts and

           subsequently raised the price of those bids during the Platts Window for the express

       ptllpose of pushing up the USGC HSFO price assessment artificially and in                  a

       manner that did not reflect legitimate market-based forces of supply and demand.

                ii.       Conversely,   if GLENCORE or Chemoil       had, a contract   to buy fuel

       oil that was priced by reference to the USGC HSFO price            assessment, or-had a

       "short" derivative position related to USGC HSFO, it was in GLENCORE,s or

       Chemoil's interest for the USGC HSFO price assessrnent to be as low             as possible.

       Traders and salespeople at GLENCORE or Chemoil submittecl offers to platts and

       subsequently lowered the price of those offers during the Platts Window for the

       express purpose of pushing down the USGC HSFO assessment             artificially and in a

       manner that did not reflect legitimate market-based forces of supply and demand.

       i'         GLENCORE and Chemoil, through its traders and salespeople, at times

submitted these bids and offers for USGC HSFO to Platts during the Platts Window for the

purpose of artificially affecting the USGC HSFO price assessment, and hence the value           of
GLENCORE's and Chemoil's physical contracts or derivative positions related to USGC

HSFO, and not for any legitimate economic reason.

       j          In total, Chemoil and GLENCORE unlawfully gained over $23 rnillion

from manipulating the USGC HSFO price assessment.



                                            "7
        Case 3:22-cr-00071-SVN Document 14 Filed 05/24/22 Page 8 of 10




         8.       Vy'hen engaged   in the conspiracy to manipulate commodity prices, and      as   to each

component of the conspiracy (relating to L.A. Bunker Fuel, the Joint Venture, and USGC HSFO),

the traders and salespeople at Chemoil and GLENCORE were acting within the scope of their

employment as employees          of   Chemoil and GLENCORE, and as agents              of   Chemoil and
GLENCORE, and with the intent, at least in paú, to benefit Chemoil and GLENCORE.

                                                Overt Acts

         9.       In furtherance of the conspiracy and to effect its unlawful object, within the District

of Connecticut and elsewhere, GLENCORE, together with others, committed and                 caused   to   be

committed at least one of the following overt acts, among others:

                  a.     In November 2012, GLENCORE had physical and derivative contracts

       priced by reference to the USGC HSFO price assessment that consisted of a total ',long,,

       position of at least 8.7 million barels, meaning Glencore's combined positiol would

       benef,rt   from a rise in the USGC HSFO price assessment. Auoss all the trading days in

       November 2012, GLENCORE traders submitted several bids, and no offers, to platts and

       subsequently raised the price of their bids over 700 times during the platts V/indow for

       USGC HSFO with the intent to push up the USGC HSFO price assessment, and hence the

       value of GLENCORE's combined physical ancl derivative positions, artificially and with

       the effect of moving up the price, resulting in an unlawful gain of hundreds of thousands

       of dollars to Glencore from the manipulation.

                  b.     In June 2015, the Joint Venture purchased approximately 700,000 balels

       of fuel oil fi'om National Oil Company A whose price was set by reference to the L.A.

       Bunker Fuel price assessment over the period of nine business days between June lB,Z0I5,

       and June 30,2015 (with the Joint Venture's exposure varying between 50,000 and 106,667




                                                   -8-
 Case 3:22-cr-00071-SVN Document 14 Filed 05/24/22 Page 9 of 10




barrels on each of the pricing days). On seven of the nine pricing days (with no tradilg

activity by GLENCORE on the remaining two plicing days), a co-conspirator submitted

one or more offers to Platts and subsequently lowered the price of the offer(s) between 20

and 38 times during the Platts Window for      L.A. Bunker Fuel with the intent to push down

the   L.A. Bunker Fuel price assessment, and hence the price of fuel oil that Trading Firm A

bought from National Oil Company A in connection with the Joint Venture, artificially in

order to reduce the cost to the Joint Venture of purchasing fuel      oil from National Oil
Company A,

          c.     In August 2076, GLENCORE had a private, bilateral contract to purchase

over 45,000 metric tons of fuel oil from Trading Firm A. The price term of the contraot

was set by reference to the L.A. Bunker Fuel price assessment minus a fixed prernium over

a period   of five business days between August 23,2016,      and August   29,2016 (meaning

that GLENCORE's exposure was over 9,100 metric tons on each of the five pricing days).

On each of the five pricing days, Marketer-1, acting at Heredia's direction, submitted one

or more offers to Platts and subsequently lowered the price of the offer(s) more than 40

times during the Platts Window for L.A. Bunker Fuel with the intent to push down the L.A.

Bunker Fuel price assessment, and hence the price of fuel oil bought from Trading Firm A,

artificially in order to reduce the cost to GLENCORE of purchasing fuel oil from Trading

Firm A.




                                          9-
     Case 3:22-cr-00071-SVN Document 14 Filed 05/24/22 Page 10 of 10




     All in violation of Title   18,   United States Code, Section 371




                   STERBOER                                VANESSA ROBERTS A     Y
           CHIEF, FRAUD SECTION                            U\ITED STATES ATTORNEY
CRIMINAL DIVISION                                          DISTRICT OF CONNECTICUT
U.S. DEP              OF JUSTICE




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